




NO. 07-09-0081-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



MARCH 26, 2009



______________________________





MICHAEL J. OWENS, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE COUNTY COURT AT LAW NO. ONE OF LUBBOCK COUNTY;



NO. 2007-448,118; HONORABLE LARRY B. “RUSTY” LADD, JUDGE



_______________________________



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

MEMORANDUM OPINION

Pending before this Court is Appellant’s 
Motion to Dismiss Appeal 
in which he represents that he wishes to withdraw his notice of appeal and dismiss the appeal. &nbsp;As required by Rule 42.2(a) of the Texas Rules of Appellate Procedure, the motion is signed by Appellant and his attorney. &nbsp;No decision of this Court having been delivered, the motion is granted and the appeal is dismissed. &nbsp;No motion for rehearing will be entertained and our mandate will issue forthwith.

Accordingly, the appeal is dismissed.

Patrick A. Pirtle

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice





Do not publish.


